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                                                                                United States District Court
                                                                                  Southern District of Texas

                                                                                     ENTERED
                                                                                   January 18, 2024
                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF TEXAS                              Nathan Ochsner, Clerk

                              HOUSTON DIVISION

ANTHONY D. JACKSON, et al.,                   §
                                              §
         Plaintiffs,                          §
VS.                                           § CIVIL ACTION NO. 4:23-CV-03165
                                              §
AMCAP MORTGAGE LTD., et al.,                  §
                                              §
         Defendants.                          §
                                              §
                                   FINAL JUDGMENT


       Plaintiffs Anthony D. Jackson and Superior Consulting Group brought this suit against

Defendants AmCap Mortgage Ltd. and Planet Home Lending in Texas state court, after which

Planet Home Lending removed it to this Court. ECF No. 1. AmCap Mortgage Ltd. then filed a

Motion for Summary Judgment, ECF No. 4, and Planet Home Lending filed a Motion to

Dismiss, ECF No. 5. At a hearing held on January 17, 2024, the Court granted the Motion for

Summary Judgement and the Motion to Dismiss, dismissing Plaintiffs’ claims with prejudice.

       Pursuant to Federal Rule of Civil Procedure 58(a), and for the reasons set forth at the

hearing, final judgment is hereby ENTERED for Defendants AmCap Mortgage Ltd. and Planet

Home Lending.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas on this the 17th day of January, 2024.




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                                                  KEITH P. ELLISON
                                                  UNITED STATES DISTRICT JUDGE
